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The following constitutes the ruling of the court and has the force and effect therein described.



 Signed August 20, 2019
______________________________________________________________________




                              UNITED STATES BANKRUPTCY COURT
                                NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION


      IN RE:

      MONIQUE FOSTER                                         CASE NO. 19-30239-bjh13

                    DEBTOR                                   Final Hearing: September 3, 2019
                                                             at 9:30 a.m.




      Order Temporarily Denying Speedway Loans, Inc.’s Motion for
          Relief from the Automatic Stay and for Final Hearing

            Came on for consideration the Motion for Relief from the Automatic Stay [doc 94]

     (the “Motion”) filed on August 7, 2019 by Speedway Loans, Inc. (“Speedway Loans”). On

     August 15, 2019, Debtor appeared through her attorney of record and Creditor Speedway

     Loans appeared through its attorney of record. The Court, having heard the arguments of

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counsel and considered the Motion, is of the opinion that the Motion is temporarily denied

and should be carried to final hearing. It is therefore,

        ORDERED that the Motion for Relief from the Automatic Stay filed by Speedway

Loans should be, and is temporarily denied. It is further,

        ORDERED that the Motion for Relief from the Automatic Stay filed by Speedway

Loans should be, and is hereby, set for a Final Hearing on September 3, 2019 at 9:30 a.m.

It is further,

        ORDERED that Speedway Loans retain possession and maintain the condition of

the Vehicle until said Final Hearing or further order of this court.

                                  ###END OF ORDER###




PREPARED BY:



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